    Case 1:19-cv-00020-C Document 12 Filed 06/18/19                  Page 1 of 1 PageID 277



                         IN I'H11 LINITED S'fATES DISTRICT COURT
                         FOR TIIE NORTIIERN DISTRICT OF TEXAS
                                       ABILENE DIVISION


CHURCH MUTUAL                                     )
INSURANCE COMPANY,                                )
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                       Plaintifl.                 )
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('t It rR('t I ol- RosCol.l.                      )
                                                  )
                       Def'endant.                )   Civil Action No. I :19-CV-020-C


                                           JUDGMENT

        For the reasons stated in the Court's Order of even date,

        IT IS ORDERED, ADJUDGED, AND DECREED that Church Mutual                  Insurance

Company take nothing on its claims asserted against First Missionary Baptist Church of Roscoe.

This Judgment fully and finally resolves ofall claims asserted in the above-styled and -numbered



                               /t I
civil action.

        SO ORDIIRIID this            day of June, 2019.




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